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United States District Court
District of New Jersey

 

 

UNITED STATES OF AMERICA CRIMINAL COMPLAINT
Vv.
RICHARD FIELDS, Magistrate No. 07-4172 (CCC)
a/k/a “P.O.”

I, the undersigned complainant being duly sworm, state the following is true and correct to the
best of my knowledge and belief.
SEE ATTACHMENT A

in violation of Title 21, United States Code, Section(s) 841(a)(1) & 841 (b)(1)(C). =

I further state that I am a Special Agent for the Federal Bureau of Investigation and that this
complaint is based on the following facts: =

SEE ATTACHMENT B

4A A

Francis J. Cayden III °
Special Agent, FBI

Sworn to before me and subscribed in my presence,

 

 

 

November 30,2007 2. SO op oe - Newark, NJ
Date City and State
( Ro Cf
HON. CLAIRE C. CECCHI . -

United States Magistrate Judge
 

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ATTACHMENT A
COUNT ONE

On or about October 16, 2006, in Paterson, New Jersey and
elsewhere within the District of New Jersey, defendant

RICHARD FIELDS,
a/k/a “P.O.”

did knowingly and intentionally distribute and possess
with intent to distribute a quantity of a mixture or
substance which contains cocaine base, a Schedule II
controlled substance.

In violation of Title 21, United States Code, Sections 841 (a) (1)
and 841 (b) (1) (Cc).

 

SSROE
 

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ATTACHMENT B

I, Francis J. Carden III, a Special Agent with the Federal
Bureau of Investigation (“FBI”), following an investigation, have
knowledge of the following facts, among others:

1. On or about October 16, 2006, a separately charged
individual approached an undercover law enforcement E
officer (“UC”) in Paterson, New Jersey. The UC agreed
to buy four (4) glassine baggies of crack cocaine
(cocaine base) from the separately charged individual
for $40.

2. The separately charged individual then approached
defendant FIELDS and conversed with him. Defendant
FIELDS then approached the UC and handed him or her
four (4) baggies of an off-white, chunky substance the
UC believed was crack cocaine. The UC then handed
Defendant FIELDS $40 in cash.

3. A DEA laboratory test was performed on the above-
mentioned substances and came back positive for the
presence of cocaine base.

4. This transaction was audio- and video-monitored by the
FBI.

 
